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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF TEXAS


SHEEZA RIZVI, A# 209 370 511,

  6765 Camino Rio
  Irving, TX 75039
                                               Case No. 3:22-cv-1100
     Plaintiff,

v.
UNITED STATES CITIZENSHIP AND
IMMIGRATION SERVICES,
Serve: U.S. Citizenship & Immigration
       Services
       5900 Capital Gateway Dr
       Camp Springs, MD 20588

UR MENDOZA JADDOU, Director of the U.S.
Citizenship & Immigration Services,

Serve: U.S. Citizenship & Immigration
       Services
       5900 Capital Gateway Dr
       Camp Springs, MD 20588

TERRI ROBINSON, Director of the Overland
Park Field Office of the United States
Citizenship and Immigration Services,
Serve: Terri Robinson
       USCIS
       7600B West 119Th Street
       Overland Park, KS 66213

and,

WILL BIERMAN, Director of the Dallas Field
Office of the United States Citizenship and
Immigration Services,
Serve: Will Bierman
       USCIS
       6500 Campus Circle Drive

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        East Irving, TX 75063

 Defendants.

 COMPLAINT IN THE NATURE OF MANDAMUS ARISING FROM DEFENDANTS’
REFUSAL TO ADJUDICATE PLANTIFF’S APPLICATION FOR NATURALIZATION

       COMES NOW Plaintiff Sheeza Rizvi to respectfully request that this Honorable Court

issue a writ of mandamus compelling Defendants to adjudicate a long-delayed application for

naturalization.

       1.     This lawsuit challenges the Defendants’ unlawful delay of Plaintiff’s application

for citizenship under a secretive policy that has blacklisted Plaintiff as a “national security

concern,” when in fact Plaintiff is not, and illegally prohibited Plaintiff from becoming a U.S.

citizen, despite being statutorily eligible to do so.

       2.     Plaintiff Sheeza Rizvi is a law-abiding, long-time resident of the United States who

meets the statutory criteria to be naturalized as an American citizen.

       3.     Plaintiff resides in Irving, TX.

       4.     Plaintiff is a citizen of Pakistan.

       5.     Plaintiff became a lawful permanent resident on October 10, 2017.

       6.     Plaintiff filed a timely N-400 Application for Naturalization on July 12, 2020.

       7.     Since that time, USCIS has refused to adjudicate Plaintiff’s application in

accordance with applicable legal criteria. Instead, USCIS has applied different rules under a

policy known as the Controlled Application Review and Resolution Program (“CARRP”), which

has resulted in the agency refusing to adjudicate Plaintiff’s application.

       8.     Defendants have refused to schedule Plaintiff for his naturalization testing and

interview.

       9.     Plaintiff has made repeated requests to USCIS to have the case finally adjudicated.


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None of these efforts have resulted in movement on the case.

       10.    Plaintiff brings this action to compel the USCIS to finally adjudicate the pending

application for naturalization as required by law.

       11.    The Constitution expressly assigns to Congress, not the executive branch, the

authority to establish uniform rules of naturalization. The Immigration and Nationality Act

(“INA”) sets forth such rules.

       12.    When these rules and requirements have been met, as they have been in Plaintiff’s

cases, USCIS is obligated to grant citizenship.

       13.    Since 2008, however, USCIS has used CARRP—an internal policy that has neither

been approved by Congress nor subjected to public notice and comment—to investigate and

adjudicate applications deemed to present potential “national security concerns.”

       14.    CARRP prohibits USCIS field officers from approving an application with a

potential “national security concern,” instead directing officers to deny the application or delay

adjudication—often indefinitely—in violation of the INA.

       15.    CARRP’s definition of “national security concern” is far more expansive than the

security-related ineligibility criteria for immigration applications set forth by Congress in the

INA.

       16.    CARRP identifies “national security concerns” based on deeply-flawed and

expansive government watchlists, and other vague and imprecise criteria that bear no relation to

the security-related statutory ineligibility criteria.

       17.    The CARRP definition illegally brands innocent, law-abiding residents, like

Plaintiff, who does not pose a security threat, as “national security concerns” on account of

innocuous activity and associations, innuendo, suppositions and characteristics such as national




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origin.

          18.   Although the total number of people subject to CARRP is not known, USCIS data

reveals that between FY2008 and FY2012, more than 19,000 people from twenty-one Muslim-

majority countries or regions were subjected to CARRP.

          19.   Due to CARRP, USCIS has not adjudicated Plaintiff’s application, as the law

requires.

          20.   Although USCIS has thus far prevented Plaintiff from becoming U.S. citizens, the

Defendants have not notified Plaintiff that they consider her to be a potential “national security

concern,” provided the reasons why they have classified her in this way, or afforded her any

opportunity to address and correct any basis for USCIS’s concerns.

          21.   Plaintiff therefore requests that the Court enjoin USCIS from applying CARRP to

this immigration application and declare that CARRP violates the INA; Article 1, Section 8,

Clause 4 of the United States Constitution (the naturalization clause); the Due Process Clause of

the Fifth Amendment to the U.S. Constitution; and the Administrative Procedure Act (“APA”).

                                               PARTIES

          22.   Defendant United States Citizenship and Immigration Services (hereinafter

sometimes referred to as “USCIS”) is the component of the DHS that is responsible for

processing petitions applications for TPS and for work authorization by immigrants such as

Plaintiff.

          23.   Defendant Ur Mendoza Jaddou, Director of the USCIS, is the highest ranking

official within the USCIS. Jaddou is responsible for the implantation of the INA and for ensuring

compliance with all applicable federal laws, including the APA. Jaddou is sued in an official

capacity as an agent of the government of the United States.




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      24.    Defendant Terri Robinson, Director of the Overland Park Field Office of the

USCIS, is the highest ranking official within the Overland Park Field Office. The Overland Park

Field Office has jurisdiction over applications for naturalization for immigrants in Irving, TX,

where Plaintiff resides. Robinson is responsible for the implantation of the INA and for ensuring

compliance with all applicable federal laws, including the APA. Terri Robinson is sued in an

official capacity as an agent of the government of the United States.

      25.    Defendant Will Bierman, Director of the Dallas Field Office of the USCIS, is the

highest ranking official within the East Irving Field Office. The Dallas Field Office has

jurisdiction over applications for naturalization for immigrants in Irving, TX, where Plaintiff

resides. Bierman is responsible for the implementation of the INA and for ensuring compliance

with all applicable federal laws, including the APA. Will Bierman is sued in an official capacity

as an agent of the government of the United States.

      26.    Defendants, who are officers of CIS and the Federal Bureau of Investigation

     (“FBI”), the Secretary of the Department of Homeland Security, and the Attorney General

     of the United States, are responsible for the naturalization process.

      27.    In November 2002, Defendants drastically altered the naturalization procedure by

requiring a vastly expanded FBI name check to be conducted on every application even though

it is not required by either statute or regulation. Implementation of this unwarranted and

cumbersome new name check procedure has resulted in months-long and even years-long delays

in naturalization adjudication for Plaintiff.

      28.    CIS’s own Ombudsman has stated that the FBI name check used in naturalization

applications is of questionable value in detecting persons who may pose a threat to security.

Nevertheless, CIS uses the FBI name check without imposing deadlines for completion. In




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requiring and conducting name checks, both CIS and the FBI have acted with complete disregard

for Congress’ plain directive that CIS should complete the processing of naturalization

applications within six months from the date of submission. Through their use of FBI name

checks, CIS and the FBI have unreasonably delayed the processing of the naturalization

application of Plaintiff, and CIS has unlawfully withheld final adjudication of this application.

       29.     Defendants’ unlawful conduct has deprived Plaintiff of the privileges of United

States citizenship. Plaintiff cannot vote, serve on juries, expeditiously sponsor immediate

relatives living abroad for permanent residence, receive business and education loans and

benefits reserved for citizens, participate in the Visa Waiver Program, or travel abroad and return

to the U.S. without fear of exclusion from this country. Plaintiff respectfully requests that the

Court require the Defendants to adjudicate the application for naturalization within the time

periods prescribed by law, and declare that the Defendants’ actions violate the naturalization

statute and regulations, laws governing administrative agency action and the Due Process Clause

of the Fifth Amendment.

                                    JURISDICTION AND VENUE

       30.     This Honorable Court has federal question jurisdiction over this cause pursuant to

28 U.S.C. § 1331, as it raises claims under the Constitution of the United States, the INA, 8

U.S.C. § 1101 et seq. and the APA, 5 U.S.C. § 701 et seq., in conjunction with the Mandamus

Act, 28 USC § 1361.

       31.     Venue is proper pursuant to 28 U.S.C. § 1391(e)(1) because (1) the Defendants are

agencies of the United States or officers or employees thereof acting in their official capacity or

under color of legal authority; (2) no real property is involved in this action; and, (3) Plaintiff

resides in this district.




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                                        LEGAL FRAMEWORK

       32.    To naturalize as a U.S. citizen, an applicant must satisfy certain eligibility criteria

under the INA and its implementing regulations. See 8 U.S.C. §§ 1421-27, 1458; 8 C.F.R. §§

316.1-316.14.28.

       33.    Applicants must prove that they are “at least 18 years of age,” 8 C.F.R. §

316.2(a)(1); have “resided continuously, after being lawfully admitted” in the United States “for

at least five years” (or three years if married to a U.S. citizen); and have been “physically present”

in the United States for “at least half of that time.” 8 U.S.C. § 1427(a)(1).

       34.    Applicants must also demonstrate “good moral character” for the five years

preceding the date of application, “attach[ment] to the principles of the Constitution of the United

States, and favorabl[e] dispos[ition] toward the good order and happiness of the United States .

. . .” 8 C.F.R. § 316.2(a)(7).

       35.    An applicant is presumed to possess the requisite “good moral character” for

naturalization unless, during the five years preceding the date of the application, they are found

(1) to be a habitual drunkard, (2) to have committed certain drug-related offenses, (3) to be a

gambler whose income derives principally from gambling or has been convicted of two or more

gambling offenses, (4) to have given false testimony for the purpose of obtaining immigration

benefits; or if the applicant (5) has been convicted and confined to a penal institution for an

aggregate period of 180 days or more, (6) has been convicted of an aggravated felony, or (7) has

engaged in conduct such as aiding Nazi persecution or participating in genocide, torture, or

extrajudicial killings. 8 U.S.C. § 1101(f)(6).

       36.    An applicant is barred from naturalizing for national security-related reasons in

circumstances limited to those codified in 8 U.S.C. § 1424, including, inter alia, if the applicant




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has advocated, is affiliated with any organization that advocates, or writes or distributes

information that advocates “the overthrow by force or violence or other unconstitutional means

of the Government of the United States,” the “duty, necessity, or propriety of the unlawful

assaulting or killing of any officer . . . of the Government of the United States,” or “the unlawful

damage, injury, or destruction of property.”

       37.    Once an individual submits an application, USCIS conducts a background

investigation, see 8 U.S.C. § 1446(a); 8 C.F.R. § 335.1, which includes a full FBI criminal

background check, see 8 C.F.R. § 335.2.

       38.    After completing the background investigation, USCIS schedules a naturalization

examination at which the applicant meets with a USCIS examiner for an interview.

       39.    In order to avoid inordinate processing delays and backlogs, Congress has stated

“that the processing of an immigration benefit application,” which includes naturalization,

“should be completed not later than 180 days after the initial filing of the application.” 8 U.S.C.

§ 1571(b).

       40.    If the applicant has complied with all requirements for naturalization, federal

regulations state that USCIS “shall grant the application.” 8 C.F.R. § 335.3(a) (emphasis added).

       41.    Courts have long recognized that “Congress is given power by the Constitution to

establish a uniform Rule of Naturalization. . . . And when it establishes such uniform rule, those

who come within its provisions are entitled to the benefit thereof as a matter of right. . . .” Schwab

v. Coleman, 145 F.2d 672, 676 (4th Cir. 1944) (emphasis added); see also Marcantonio v. United

States, 185 F.2d 934, 937 (4th Cir. 1950) (“The opportunity having been conferred by the

Naturalization Act, there is a statutory right in the alien to submit his petition and evidence to a

court, to have that tribunal pass upon them, and, if the requisite facts are established, to receive




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the certificate.” (quoting Tutun v. United States, 270 U.S. 568, 578 (1926))).

      42.       Once an application is granted, the applicant is scheduled in to be sworn in as a

U.S. citizen.

                                      FACTUAL BACKGROUND

      Controlled Application Review and Resolution Program

      43.       In April 2008, USCIS created CARRP, an agency-wide policy for identifying,

processing, and adjudicating immigration applications that raise “national security concerns.”

      44.       Upon information and belief, prior to CARRP’s enactment, USCIS simply delayed

the adjudication of many immigration applications that raised possible “national security

concerns,” in part due to backlogs created by the FBI Name Check.

      45.       Congress did not enact CARRP, and USCIS did not promulgate it as a proposed

rule with the notice-and-comment procedures mandated by the APA. See 5 U.S.C. § 553(b)-(c).

      46.       Since CARRP’s inception, USCIS has not made information about CARRP

available to the public, except in response to Freedom of Information Act (“FOIA”) requests and

litigation to compel responses to those requests. In fact, the program was unknown to the public,

including applicants for immigration benefits, until it was discovered in litigation challenging an

unlawful denial of naturalization and then through the government’s response to a FOIA request.

      47.       CARRP directs USCIS officers to screen immigration applications—including

applications for asylum, visas, lawful permanent residency, and naturalization—for “national

security concerns.”

      48.       If a USCIS officer determines that an application presents a “national security

concern,” it takes the application off a “routine adjudication” track and—without notifying the

applicant—places it on a CARRP adjudication track where it is subject to procedures and criteria




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unique to CARRP that result in lengthy delays and prohibit approvals, except in limited

circumstances, regardless of an applicant’s statutory eligibility.

      CARRP’s Definition of a “National Security Concern”

      49.    According to the unauthorized CARRP definition utilized by Defendants, a

“national security concern” arises when “an individual or organization [that] has been

determined to have an articulable link”—no matter how attenuated or unsubstantiated—“to prior,

current, or planned involvement in, or association with, an activity, individual, or organization

described in sections 212(a)(3)(A), (B), or (F), or 237(a)(4)(A) or (B) of the Immigration and

Nationality Act.” Those sections of the INA make inadmissible or removable any individual

who, inter alia, “has engaged in terrorist activity” or is a member of a “terrorist organization.”

      50.    For the reasons described herein, an individual need not be actually suspected of

engaging in any unlawful activity or joining any forbidden organization to be branded a “national

security concern” under CARRP.

      51.    CARRP purportedly distinguishes between two types of “national security

concerns”: those ostensibly involving “Known or Suspected Terrorists” (“KSTs”), and those

ostensibly involving “non-Known or Suspected Terrorists” (“non-KSTs”).

      52.    USCIS automatically considers an applicant a KST, and thus a “national security

concern,” if his or her name appears in the Terrorist Screening Database (“TSDB”) (also referred

to as the Terrorist Watch List). USCIS, therefore, applies CARRP to any applicant whose name

appears in the TSDB, regardless as to whether they actually belong on the list.

      53.    Upon information and belief, the TSDB includes as many as one million names,

many of whom present no threat to the United States.

      54.    The government’s recently disclosed criteria for watchlist nominations, known as




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the Watchlisting Guidance, impermissible allows non-U.S. citizens, including LPRs, to be listed

in the TSDB even where the government does not have “reasonable suspicion” of involvement

with terrorist activity.

       55.    The Guidance permits the watchlisting of non-citizens and LPRs simply for being

associated with someone else who has been watchlisted, even when any involvement with that

person’s purportedly suspicious activity is unknown.

       56.    The Guidance further provides that non-citizens and LPRs may be watchlisted

based on fragmentary or uncorroborated information, or information of “suspected reliability.”

These extremely loose standards significantly increase the likelihood that the TSDB contains

information on individuals who are neither known nor appropriately suspected terrorists.

       57.    To make matters worse, the Terrorist Screening Center (“TSC”), which maintains

the TSDB, has failed to ensure that innocent individuals are not watchlisted or are promptly

removed from watchlists.

       58.    In the year 2013, the watchlisting community added 468,749 individuals to the

TSDB, and the TSC rejected only approximately one percent of those nominations.

       59.    In 2009, the Government Accountability Office found that 35 percent of the

nominations to the TSDB were outdated, and that tens of thousands of names had been placed

on the list without an adequate factual basis.

       60.    The Inspector General of the Department of Justice has criticized the Terrorist

Screening Center, which maintains the TSDB, for employing weak quality assurance

mechanisms and for failing to remove subjects from the TSDB when information no longer

supports their inclusion. Public reports also confirm that the government has nominated or kept

people on government watchlists as a result of human error.




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       61.    The federal government’s official policy is to refuse to confirm or deny give

individuals’ inclusion in the TSDB or provide a meaningful opportunity to challenge that

inclusion.

       62.    Nevertheless, individuals can become aware of their inclusion due to air travel

experiences. In particular, individuals may learn that they are on the “Selectee List,” a subset of

the TSDB, if they have the code “SSSS” listed on their boarding passes. They may also learn of

their inclusion in the TSDB if U.S. federal agents regularly subject them to secondary inspection

when they enter the United States from abroad or when boarding a flight over U.S. airspace.

Such individuals are also often unable to check in for flights online or at airline electronic kiosks

at the airport.

       63.    Where the KST designation does not apply, CARRP instructs officers to look for

“indicators” of a “non-Known or Suspected Terrorist” (“non-KST”) concern.

       64.    These indicators fall into three categories: (1) statutory indicators; (2) non-statutory

indicators; and (3) indicators contained in security check results.

       65.    “Statutory indicators” of a “national security concern” arise when an individual

generally meets the definitions described in Sections 212(a)(3)(A), (B), and (F), and

237(a)(4)(A) and (B) of the INA (codified at 8 U.S.C. § 1182(a)(3)(A), (B), and (F) and §

1227(a)(4)(A) and (B)), which list the security and terrorism grounds of inadmissibility and

removability.

       66.    However, CARRP expressly defines statutory indicators of a “national security

concern” more broadly than the statute, stating “the facts of the case do not need to satisfy the

legal standard used in determining admissibility or removability” under those provisions of the

INA to give rise to a “non-KST” “national security concern.” This is illegal and contrary to law.




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       67.    For example, CARRP specifically directs USCIS officers to look at evidence of

charitable donations to organizations later designated as financiers of terrorism by the U.S.

Treasury Department and to construe such donations as evidence of a “national security

concern,” even if an individual had made such donations without any knowledge or any

reasonable way of knowing that the organization was allegedly engaged in proscribed activity.

Such conduct would not make an applicant inadmissible for a visa or lawful permanent resident

status under the statute, see INA § 212(a)(3)(B), 8 U.S.C. § 1182(a)(3)(B), nor does it have any

bearing on a naturalization application.

       68.    “Non-statutory indicators” of a “national security concern” include “travel through

or residence in areas of known terrorist activity”; “large scale transfer or receipt of funds”; a

person’s employment, training, or government affiliations; the identities of a person’s family

members or close associates, such as a “roommate, co-worker, employee, owner, partner,

affiliate, or friend”; or simply “other suspicious activities.”

       69.    Finally, security check results are considered indicators of a “national security

concern” in instances where, for example, the FBI Name Check—one of many security checks

utilized by USCIS—produces a positive hit on an applicant’s name and the applicant’s name is

associated with a national security related investigatory file. Upon information and belief, this

indicator leads USCIS to label applicants “national security concerns” solely because their names

appear in a law enforcement or intelligence file, even if they were never the subject of an

investigation.

       70.    Thus, an applicant’s name could appear in a law enforcement file in connection

with a national security investigation because he or she once gave a voluntary interview to an

FBI agent, he or she attended a mosque that was the subject of FBI surveillance, or he or she




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knew or was associated with someone under investigation.

          71.   Upon information and belief, CARRP labels applicants “national security

concerns” based on vague and overbroad criteria that often turn on lawful activity, national

origin, and innocuous associations. These criteria are untethered from the statutory criteria that

determine whether or not a person is eligible for the immigration status they seek, and are so

general that they necessarily ensnare individuals who pose no threat to the security of the United

States.

          Delay and Denial

          72.   Once a USCIS officer identifies a CARRP-defined “national security concern,” the

application is subjected to CARRP’s rules and procedures that guide officers to deny such

applications or, if an officer cannot find a basis to deny the application, to delay adjudication as

long as possible.

          73.   One such procedure is called “deconfliction,” which requires USCIS to coordinate

with—and, upon information and belief, subordinate its authority to—the law enforcement

agency, often the FBI, that possesses information giving rise to the supposed national security

concern.

          74.   During deconfliction, the relevant law enforcement agency has authority to instruct

USCIS to ask certain questions in an interview or to issue a Request for Evidence (“RFE”); to

comment on a proposed decision on the benefit; and to request that an application be denied,

granted, or held in abeyance for an indefinite period of time.

          75.   Upon information and belief, deconfliction not only allows law enforcement or

intelligence agencies to directly affect the adjudication of a requested immigration benefit, but

also results in independent interrogations of the immigration applicant—or the applicant’s




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friends and family—by agencies such as the FBI.

      76.      Upon information and belief, USCIS often makes decisions to deny immigration

applications because the FBI requests or recommends the denial, not because the person was

statutorily ineligible for the benefit. The FBI often requests that USCIS hold or deny an

application not because the applicant poses a threat, but because it seeks to use the pending

immigration application to coerce the applicant to act as an informant or otherwise provide

information.

      77.      In addition to “deconfliction,” once officers identify an applicant as a “national

security concern,” CARRP directs officers to perform an “eligibility assessment” to determine

whether the applicant is eligible for the benefit sought.

      78.      Upon information and belief, at this stage, CARRP instructs officers to look for any

possible reason to deny an application so that “valuable time and resources are not unnecessarily

expended” to investigate the possible “national security concern.” Where no legitimate reason

supports denial of an application subjected to CARRP, USCIS officers often invent false or

pretextual reasons to deny the application.

      79.      Upon information and belief, if, after performing the eligibility assessment, an

officer cannot find a reason to deny an application, CARRP instructs officers to first “internally

vet” the “national security concern” using information available in DHS systems and databases,

open source information, review of the applicant’s file, RFEs, and interviews or site visits.

      80.      After conducting the eligibility assessment and internal vetting, USCIS officers are

instructed to again conduct “deconfliction” to determine the position of any interested law

enforcement agency.

      81.      If the “national security concern” remains and the officer cannot find a basis to deny




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the benefit, the application then proceeds to “external vetting.”

       82.    During “external vetting,” USCIS instructs officers to confirm the existence of the

“national security concern” with the law enforcement or intelligence agency that possesses the

information that created the concern and obtain additional information from that agency about

the concern and its relevance to the individual.

       83.    CARRP authorizes USCIS officers to hold applications in abeyance for periods of

180 days to enable law enforcement agents and USCIS officers to investigate the “national

security concern.” The Field Office Director may extend the abeyance periods so long as the

investigation remains open.

       84.    Upon information and belief, CARRP provides no outer limit on how long USCIS

may hold a case in abeyance, even though Congress has made clear its intent that USCIS

adjudicate immigration applications, including for naturalization and lawful permanent

residence, within 180 days of filing the application. 8 U.S.C. § 1571(b).

       85.    When USCIS considers an applicant to be a KST “national security concern,”

CARRP forbids USCIS field officers from granting the requested benefit even if the applicant

satisfies all statutory and regulatory criteria.

       86.    When USCIS considers an applicant to be a non-KST “national security concern,”

CARRP forbids USCIS field officers from granting the requested benefit in the absence of

supervisory approval and concurrence from a senior level USCIS official.

       87.    In Hamdi v. USCIS, 2012 WL 632397, when asked whether USCIS’s decision to

brand naturalization applicant Tarek Hamdi as a “national security concern” affected whether he

was eligible for naturalization, a USCIS witness testified at deposition that “it doesn’t make him

statutorily ineligible, but because he is a—he still has a national security concern, it affects




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whether or not we can approve him.” The witness testified that, under CARRP, “until [the]

national security concern [is] resolved, he won’t get approved.”

       88.   Upon information and belief, USCIS often delays adjudication of applications

subject to CARRP when it cannot find a reason to deny the application. When an applicant files

a mandamus action to compel USCIS to finally adjudicate his or her pending application, it often

has the effect of forcing USCIS to deny a statutorily-eligible application because CARRP

prevents agency field officers from granting an application involving a “national security

concern.”

       89.   CARRP effectively creates two substantive regimes for immigration application

processing and adjudication: one for those applications subject to CARRP and one for all other

applications. CARRP rules and procedures create substantive eligibility criteria that exclude

applicants from immigration benefits to which they are entitled by law.

       90.   At no point during the CARRP process is the applicant made aware that he or she

has been labeled a “national security concern,” nor is the applicant ever provided with an

opportunity to respond to and contest the classification.

       91.   Upon information and belief, CARRP results in extraordinary processing and

adjudication delays, often lasting many years, and baseless denials of statutorily-eligible

immigration applications.

                   COUNT I - IMMIGRATION & NATIONALITY ACT AND
                             IMPLEMENTING REGULATIONS

       92.   Plaintiff incorporates the allegations of the preceding paragraphs as if fully set forth

herein.

       93.   To secure naturalization, an applicant must satisfy certain statutorily -enumerated

criteria.


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      94.       By its terms, CARRP creates additional, non-statutory, substantive criteria that

must be met prior to a grant of a naturalization application.

      95.       Accordingly, CARRP violates 8 U.S.C. § 1427, 8 C.F.R. § 316.2, and 8 C.F.R. §

335.3, as those provisions set forth the exclusive applicable statutory and regulatory criteria for

a grant of naturalization.

      96.       Because of this violation and because CARRP’s additional, non-statutory,

substantive criteria have been applied to Plaintiff. Plaintiff has suffered and continues to suffer

injury in the form of an unreasonable delay of the application for naturalization.

                       COUNT II - UNIFORM RULE OF NATURALIZATION

      97.       Plaintiff incorporates the allegations of the preceding paragraphs as if fully set forth

herein.

      98.       Congress has the sole power to establish criteria for naturalization, and any

additional requirements, not enacted by Congress, are ultra vires.

      99.       By its terms, CARRP creates additional, non-statutory, substantive criteria that

must be met prior to a grant of a naturalization application.

      100. Accordingly, CARRP violates Article I, Section 8, Clause 4 of the United States

Constitution.

      101. Because of this violation and because CARRP’s additional, non-statutory,

substantive criteria have been applied to Plaintiff. Plaintiff has suffered and continues to suffer

injury in the form of the adjudication of the application for naturalization.

             COUNT III - ADMINISTRATIVE PROCEDURE ACT (5 U.S.C. § 706)

      102. Plaintiff incorporates the allegations of the preceding paragraphs as if fully set forth

herein.



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      103. CARRP constitutes final agency action that is arbitrary and capricious because it

“neither focuses on nor relates to a [non-citizen’s] fitness to” obtain the immigration benefits

subject to its terms. Judulang v. Holder, 132 S. Ct. 476, 485 (2011).

      104. CARRP is also not in accordance with law, is contrary to constitutional rights, and

is in excess of statutory authority because it violates the INA and exceeds USCIS’s statutory

authority to implement (not create) the immigration laws, as alleged herein.

      105. As a result of these violations, Plaintiff has suffered and continues to suffer injury

in the form of an unreasonable delay of the adjudication of the application for naturalization.

             COUNT IV - ADMINISTRATIVE PROCEDURE ACT (NOTICE AND
                                COMMENT)

      106. Plaintiff incorporates the allegations of the preceding paragraphs as if fully set forth

herein.

      107. The Administrative Procedures Act (“APA”), 5 U.S.C. § 553, requires

administrative agencies to provide a notice-and-comment period prior to implementing a

substantive rule.

      108. CARRP constitutes a substantive agency rule within the meaning of 5 U.S.C. §

551(4).

      109. Defendants failed to provide a notice-and-comment period prior to the adoption of

CARRP. Because CARRP is a substantive rule promulgated without the notice-and-comment

period, it violates 5 U.S.C. § 553 and is therefore invalid.

      110. As a result of these violations, Plaintiff has suffered and continues to suffer injury

in the form of an unreasonable delay of the adjudication of the application for naturalization.

             COUNT V - FIFTH AMENDMENT (PROCEDURAL DUE PROCESS)

      111. Plaintiff incorporates the allegations of the preceding paragraphs as if fully set forth


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herein.

      112. Plaintiff’s compliance with the statutory and regulatory requirements established in

8 U.S.C. § 1427 and 8 C.F.R. § 316.2 (for naturalization applicants), and in 8 U.S.C. § 1159 and

8 C.F.R. § 335.3 (for adjustment of status applicants), vests in her a constitutionally protected

property and liberty interest.

      113. This constitutionally-protected property or liberty interest triggers procedural due

process protection.

      114. Defendants’ failure to give Plaintiff notice of a classification under CARRP, a

meaningful explanation of the reason for such classification, and any process by which Plaintiff

can challenge this classification, violates the Due Process Clause of the Fifth Amendment to the

United States Constitution.

      115. Because of this violation, Plaintiff has suffered and continues to suffer injury in the

form of an unreasonable delay of the adjudication of the application for naturalization.

                                      PRAYER FOR RELIEF

      WHEREFORE, Plaintiff Sheeza Rizvi respectfully requests that the Court grant the

following relief:

      1.     Enter a judgment declaring that (a) CARRP violates the INA and its implementing

regulations; Article 1, Section 8, Clause 4 of the United States Constitution; the Fifth

Amendment to the United States Constitution; and the APA; and (b) Defendants violated the

APA by adopting CARRP without promulgating a rule and following the process for notice and

comment by the public;

      2.     Enjoin Defendants, their subordinates, agents, employees, and all others acting in

concert with them from applying CARRP to the processing and adjudication of Plaintiff’s

immigration benefit applications;

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      3.     Order Defendants to rescind CARRP because they failed to follow the process for

notice and comment by the public;

      4.     Enjoin Defendants and order them to: (1) take all necessary steps to complete the

FBI name checks of Plaintiff within 30 days and finally adjudicate Plaintiff’s N-400 Application

within 30 days;

      5.     Award Plaintiff reasonable attorneys’ fees and costs under the Equal Access to

Justice Act; and

      6.     Grant any other relief that this Court may deem fit and proper.




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                                               RESPECTFULLY SUBMITTED
                                                             May 12, 2022


                                                        /s/ James O. Hacking, III
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